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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No.

EIGHTH DISTRICT ELECTRICAL PENSION FUND;

SUSAN KING, as Chair of the Delinquency Committee for the
Eighth District Electrical Pension Fund; and

NATIONAL ELECTRICAL BENEFIT FUND;

       Plaintiffs,
v.

GORDON SIGN COMPANY, LLC;

       Defendant.

_____________________________________________________________________________________

                                          COMPLAINT
______________________________________________________________________________
       Plaintiffs set forth above (“Plaintiffs”), for their cause of action against Defendant

Gordon Sign Company, LLC (“Defendant”), state, allege, and aver as follows:

                                   NATURE OF THE CASE

       1.      This Complaint brings an action to collect delinquent fringe benefit contributions

from Defendant that are due and owing pursuant to §§ 502 and 515 of the Employee Retirement

Income Security Act of 1974 (ERISA), 29 U.S.C. §§ 1132 and 1145, and pursuant to collective

bargaining agreements (hereinafter “CBAs”) with International Brotherhood of Electrical Workers

Local Union No. 68 (hereinafter “Local 68”).




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                                           PARTIES

       2.      Plaintiff Eighth District Electrical Pension Fund (hereinafter “Pension Fund”) is an

“employee benefit plan” within the meaning of 29 U.S.C. § 1002(3) and maintains its principal

place of administration at 2821 South Parker Road, Suite 215, Aurora, Colorado. Plaintiff Pension

Fund is a legal entity that may sue or be sued, pursuant to 29 U.S.C. § 1132(d).

       3.      Plaintiff Susan King (hereinafter “King”) is a proper party to this action based on

her official capacity and fiduciary duties to Plaintiff Pension Fund, including the collection of

contributions owed to Plaintiff Pension Fund.

       4.      Plaintiff National Electrical Benefit Fund (hereinafter “NEBF”) is an “employee

benefit plan” within the meaning of 29 U.S.C. § 1002(3) and maintains its principal place of

administration at 2400 Research Boulevard, Suite 500, Rockville, Maryland. Plaintiff NEBF is a

legal entity that may sue or be sued, pursuant to 29 U.S.C. § 1132(d).

       5.      Plaintiffs Pension Fund and NEBF (hereinafter “Plaintiff Funds”) are each a

“multiemployer plan” within the meaning of 29 U.S.C. § 1002(37) and have been established and

are maintained pursuant to § 302(c)(5) of the LMRA, 29 U.S.C. § 186(c)(5).

       6.      Defendant Gordon Sign Company, LLC (hereinafter “Defendant”), is a limited

liability company organized and existing under the laws of the State of Colorado; and is an

employer within the meaning of 29 U.S.C. § 1002(5).

                                 JURISDICTION & VENUE

       7.      This Court has jurisdiction of Plaintiffs’ claims pursuant to 29 U.S.C. §§ 185(c),

1132, and 1145; and also pursuant to 28 U.S.C. §§ 1331 and 1367(a).




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        8.      Venue is appropriate in this district pursuant to 29 U.S.C. § 1132(e)(2) and 28

U.S.C. § 1391(b) because Plaintiff Pension Fund is administered in the State of Colorado, the

breach took place in the State of Colorado, Defendant may be found in the State of Colorado, and

a substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred in the State

of Colorado.

                                      CAUSE OF ACTION

        9.      Plaintiffs hereby incorporate by this reference paragraphs 1 through 8 above as if

set forth fully herein.

        10.     Defendant is a party to one or more CBAs with Local 68, and the CBAs govern the

terms and conditions of employment of all employees of Defendant performing work covered by

such CBAs. Said CBAs have been in effect at all times relevant to this action.

        11.     At all times relevant to this action, Defendant has employed individuals who have

performed work covered by the CBAs with Local 68.

        12.     Each Plaintiff Fund was established and operates pursuant to a written agreement

and/or declaration of trust (hereinafter “Trust Agreement”). These Trust Agreements are

incorporated by reference into, and are a material part of, the CBAs between Local 68 and

Defendant.

        13.     Among other duties imposed upon Defendant under the CBAs, Defendant is

required to make contributions to the Plaintiff Funds which provide retirement and other benefits

for employees of contractors, such as Defendant, who are signatory to the CBAs with Local 68.

        14.     Defendant is obligated under the CBAs and Trust Agreements to timely submit

reports and contributions to Plaintiff Funds. Defendant is required to submit contributions to


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Plaintiff Funds each month in such amounts as determined by the number of hours of covered

work performed by, and for NEBF the gross wages of, Defendant’s employees at the rates

established for Plaintiff Funds in the CBAs and incorporated documents.

       15.     The CBAs, which incorporate the Trust Agreements and duly-adopted rules of

Plaintiff Funds, require that contributions to Plaintiff Funds be made at the end of each month.

Payments not made by the 15th day of the following month are deemed delinquent.

       16.     Defendant has failed to make contributions to Plaintiff Funds for the hours of

covered work performed by its employees under the CBAs during the months of June through

November 2019, and continuing to date. As a result, Defendant has breached the CBAs and Trust

Agreements, and Defendant has breached its obligations under ERISA, 29 U.S.C. § 1145.

       17.     Defendant is liable and indebted to Plaintiffs for delinquent contributions due under

the CBAs and Trust Agreements in the amount of Seventeen Thousand Four Hundred Eighty-Four

Dollars and Forty-Seven Cents ($17,484.47) for the months June through November 2019.

       18.     Defendant is also liable in an amount, presently unknown but to be determined in

this action, for contributions due and owing for hours of unreported covered work performed by

Defendant’s employees for such additional and future months for which Defendant fails to submit

reports or make contributions during the pendency of this action, and for which discovery may be

conducted to determine the amount owed.

       19.     The CBAs, Trust Agreements, and ERISA provide remedies to Plaintiff Funds in

the event an employer fails to make full and timely contributions to Plaintiff Funds for all hours

of work covered by the CBAs. Among the remedies are costs of collection, attorneys’ fees, interest,

and liquidated damages.


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       20.     Pursuant to the CBAs and Trust Agreements incorporated therein, Defendant is

liable to Plaintiff Pension Fund for liquidated damages at the rate of ten percent (10%), and

Plaintiff NEBF for liquidated damages at the rate of twenty percent (20%) assessed upon untimely

and/or unpaid contributions. Accordingly, Defendant is liable to Plaintiff Funds for liquidated

damages in the amount of Two Thousand Two Hundred Seventy-Eight Dollars and Forty-Four

Cents ($2,278.44) assessed upon Defendant’s untimely and/or unpaid contributions for the months

of June 2019 through November 2019. Defendant is also liable to Plaintiff Funds in an amount,

presently unknown but to be determined in this action, for liquidated damages to be assessed upon

untimely and outstanding contributions owing for unreported hours of covered work performed by

Defendant’s employees in such additional and future months for which Defendant fails to submit

reports or make contributions during the pendency of the action, and for which discovery may be

conducted to determine the amount owed.

       21.     Pursuant to the CBAs and Trust Agreements incorporated therein, Defendant is

liable to Plaintiff Pension Fund for interest at the rate of the Federal short-term interest rate for

underpayment, plus two percent (2%), and to Plaintiff NEBF at the interest rate of ten percent

(10%) annually, compounded monthly, upon the untimely and/or unpaid contributions.

Accordingly, as of December 17, 2019, Defendant is liable to Plaintiff Funds in the amount of

Three Hundred Thirty-Four Dollars and Sixty-Four Cents ($334.64) for interest accrued upon

Defendant’s untimely and/or unpaid contributions for the months of June 2019 through November

2019. Defendant is also liable to Plaintiff Funds in an amount, presently unknown but to be

determined in this action, for interest to be assessed upon untimely and outstanding contributions

owing for unreported hours of covered work performed by Defendant’s employees in such


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additional and future months for which Defendant fails to submit reports or make contributions

during the pendency of the action, and for which discovery may be conducted to determine the

amount owed.

       22.      Plaintiffs have incurred, and will continue to incur, attorneys’ fees and other costs

in their efforts to remedy Defendant’s failure to pay contributions pursuant to the CBAs and Trust

Agreements. Plaintiffs are entitled to recover these fees and costs pursuant to the terms of the

CBAs, Trust Agreements, and by law.

       WHEREFORE, Plaintiffs pray that the Court enter an Order:

       (1) Finding that Defendant is liable to Plaintiffs and entering judgment against Defendant

             and in favor of Plaintiffs accordingly;

       (2) Finding that Defendant is liable to Plaintiffs for delinquent contributions, liquidated

             damages, and interest for the months of June 2019 through November 2019 in the

             amount of Twenty Thousand Ninety-Seven Dollars and Fifty-Five Cents ($20,097.55);

       (3) Ordering Defendant to pay any and all amounts that are determined due and owing for

             work performed in December 2019, January 2020, and subsequent months after the

             filing of this action for which Defendant fails to submit reports and contributions, plus

             liquidated damages, interest, and other damages as may be determined to be due as of

             the date judgment is entered;

       (4) Ordering Defendant to submit timely contributions and reports to the Plaintiffs as they

             become due;




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       (5) Awarding Plaintiffs their costs of this action and reasonable attorneys’ fees attributable

          to the collection of delinquent contributions, liquidated damages, and/or interest found

          to be due and owing to Plaintiffs; and

       (6) Granting Plaintiffs such other relief that the Court deems just and proper.


Dated: January 8, 2020
                                                      Respectfully submitted,

                                                      BLAKE & UHLIG

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